             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                           CENTRAL DIVISION

UNITED STATES OF AMERICA                   )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )       Case No. 11-04015-01-CR-C-NKL
                                           )
ANDREW D. BRANDWEIN,                       )
                                           )
      Defendant.                           )

                                        ORDER

      This matter is before the court on the request of F. Randall Waltz, III, Esquire

(“Waltz”), attorney for Defendant Andrew Brandwein, for compensation in excess of the

statutory maximum imposed by the Criminal Justice Act. For the reasons set forth below,

Defendant’s motion for excess compensation [Doc. #71] is DENIED.

I.    Background

      Defendant Andrew Brandwein has been charged with conspiring to attempt to

manufacture methamphetamine in violation of 21 U.S.C. § 841(a)(1) and 21 U.S.C. §

846, and with being a felon in possession of firearms in violation of 18 U.S.C. §§

922(g)(1) and 924(a)(2). Counsel Waltz was appointed to represent Andrew Brandwein

on April 28, 2011. On Dec. 13, 2011, Waltz filed a motion to suppress evidence obtained

through an allegedly unconstitutional search of Defendant’s home. On February 6, 2012,

Magistrate Judge Matt J. Whitworth conducted a suppression hearing, during which

twelve witnesses presented testimony regarding the circumstances of the search of

Defendant’s home. Judge Whitworth found that the evidence obtained from the search

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and seizure was admissible, and recommended that Defendant’s motion to suppress be

denied.

         Waltz argues that he is entitled to compensation in excess of the statutory

maximum because this case is complex. In support of the claim of complexity, Waltz

cites the following: the government provided counsel with “dozens of pages” of pretrial

discovery; counsel filed reply suggestions and supplemental suggestions in support of

Defendant’s motion to suppress; there are multiple counts and multiple legal issues

involved in the case; and prior to June 6, 2012, Defendant Andrew Brandwein was

incarcerated a considerable distance away from Waltz’ place of business. Waltz has

provided documentation showing that he has paid out-of-pocket costs of $217.87 and

expended 114.55 hours on this case. At the CJA rate of $125.00/hour, this amounts to

$14,318.75 hours spent on the case. Waltz’ normal billing rate is $200.00/hour. [Doc. #

71].

II.      Discussion

         The Criminal Justice Act provides that court-appointed counsel for felony

defendants are entitled to compensation up to a set limit. 18 U.S.C. § 3006A(d)(3).

However, payment in excess of the statutory cap may be approved by the court if the

representation is 1) either extended or complex in character, and 2) if the excess payment

is necessary to provide fair compensation. 18 U.S.C. § 3006A(d)(3); see also United

States v. Jewett, 625 F. Supp. 498, 500 (W.D. Mo. 1985); United States v. Ellzey, 29 F.

Supp. 2d 505, 506 (C.D. Ill. 1998); United States v. Bailey, 581 F.2d 984, 987 (D.C. Cir.

1978).

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         Counsel Waltz argues that the instant case is complex. A case is considered

“complex” for the purposes of approving a voucher in excess of the statutory cap if the

legal or factual issues in a case are “exceedingly difficult,” Jewett, 625 F. Supp. at 501, or

“requiring the expenditure of more time, skill and effort by the lawyer than would

normally be required in an average case.” In re Smith, 586 F.3d 1169, 1172 (9th Cir.

2009) (internal quotes omitted); see also United States v. Mosley, 779 F. Supp. 2d 398,

401 (D.N.J. 2011); Bailey, 581 F.2d at 989. Complexity “refers to the intricacies of the

case and their corresponding call on counsel's intellectual resources.” Bailey, 581 F.2d at

987; see also United States v. Keeble, 2008 WL 1792935 at *1 (N.D. Tex. Apr. 16,

2008).

         Courts that have found cases complex have considered, inter alia, the following

factors: length of trial; multiplicity of counts; difficulty and novelty of legal issues

involved; number of defendants; mental capacity of defendant; success of representation;

volume of discovery; and extent of preparation required. See, e.g., United States v.

Edelkind, 525 F.3d 388, 397 (5th Cir. 2008) (finding the case was complex where the

factual and procedural history of the case was “long and complicated,” many documents

were involved, and the effect of Hurricane Katrina had prevented the Government from

receiving documents); United States v. Blandford, 30 F. Supp. 2d 1080, 1081 (C.D. Ill.

1998) (finding the case was complex because it “presented challenges not typically

encountered in a felony case,” including four pre-trial motions, defendant’s insistence on

self-representation and a jury trial, and the effort counsel expended to convince defendant

to withdraw his motion to proceed pro se and plead guilty); United States v. Carnevale,

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624 F. Supp. 381, 386 (D.R.I. 1985) (finding that “the complexity furculum of the statute

was fulfilled” in a case involving a “fifty-seven count indictment against six defendants”

where trial lasted twelve days); United States v. Quintero–Medina, 489 F. Supp. 82, 82-

84 (N.D. Ill. 1980) (determining the case was complex where five attorneys extended

significant preparation time and 21 days in court defending five defendants in conspiracy

charge, resulting in the acquittal of each defendant); United States v. Farley, 565 F. Supp.

71, 71-72 (E.D. Wis. 1983) (finding the case complex where defendant was indicted in

seven separate counts under a statute that had not yet been definitively construed, such

that “counsel undertook an extensive effort to attack both the statute and the indictment,”

which involved filing five motions to quash or dismiss the indictment and reviewing

“volumes of transcripts, investigate reports, and other documents and listen[ing] to hours

of taped telephone and in-person conversations,” and where trial lasted seven days and

resulted in the defendant’s acquittal).

       On the other hand, cases have been found to be not complex where there were “no

extraordinary factual or legal issues involved,” counsel’s appearance and participation in

the case was limited, counsel spent excessive time “handholding” the client, and there

were “no numerous or complex defenses which might have justified the need for a greater

than average amount of time or skill in preparing the defense.” United States v. Diaz,

802 F. Supp. 304, 311 (C.D. Cal. 1992); see also Jewett, 625 F. Supp. at 503-04 (case

involving four defendants on drug conspiracy charges, where counsel filed eleven pretrial

motions and reviewed substantial documentary evidence, was not complex); Mosley, 779

F. Supp. 2d at 401 (not complex where counsel did not make “any unusual or out of the

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ordinary arguments”); Mukhtaar, 2008 WL 2151798 at *3 (not complex where the

defendant had already decided to plead guilty by the time counsel was appointed,

counsel’s appearances in court were limited to two sentencing hearings, and no unique or

unusually complicated aspects of law were involved).

       Based on a review of the record, the Court finds that the instant case is not

complex. The factual issues contested in the suppression hearing were not particularly

complicated. The central Fourth Amendment questions at issue consisted of the

following: whether warrantless entry based on exigent circumstances may be justified

where no evidence leading directly to defendant’s home is present; whether a motion to

suppress may nonetheless be denied when evidence is uncovered as a result of a

warrantless “community caretaker” entry by police; and whether being advised of one’s

right to leave and that one’s home will be secured constitutes custody for the purposes of

interrogation. It is true that these questions as applied to the facts in the instant case were

sufficiently unsettled to allow for creative arguments on the part of Defendant’s counsel.

And it cannot be denied that Waltz vigorously advocated on behalf of his client.

However, the quantity of discovery material is no greater than usual, nor are there an

unusual number of witnesses. A novel legal issue alone cannot be the basis of finding

complexity.


III.   Conclusion

       While the Court is unwilling to classify this as a complex case, the Court will

permit an interim payment of $2,500, with the understanding that counsel should not


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expect the statutory cap to be lifted. As the Eighth Circuit recently pointed out, “CJA

service is first a professional responsibility, and no lawyer is entitled to full compensation

for services for the public good.” In re Carlyle, 644 F.3d 694, 699 (8th Cir. 2011).

Accordingly, Defendant’s Motion [Doc. # 71] is DENIED, but interim payment in the

amount of $2,500 is authorized per the normal rules of the Clerk’s Office.



                                                  s/ Nanette K. Laughrey
                                                  NANETTE K. LAUGHREY
                                                  United States District Judge
Dated: September 19, 2012
Jefferson City, Missouri




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